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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

PEN AMERICAN CENTER, INC.,
et al.,

       Plaintiffs,

v.                                        Case No. 3:23cv10385-TKW-ZCB

ESCAMBIA COUNTY SCHOOL
BOARD,

      Defendant.
_________________________________/

                            NOTICE OF HEARING

      TAKE NOTICE that a hearing in this case has been set before Judge T. Kent

Wetherell, II as described below:

      DATE:                     Wednesday, January 10, 2024

      TIME:                     10:00 A.M. C.T.

      LOCATION:                 Courtroom 4 North at the United States Courthouse,

                                1 North Palafox Street, Pensacola, Florida.

      SUBJECT:                  Defendant’s Motion to Dismiss

      NOTE:                     If anyone participating in this conference has a

                                disability that requires a special accommodation,

                                please contact the Clerk’s office as immediately as

                                possible so arrangements can be made.
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DONE and ORDERED this 13th day of December, 2023.




                             _________________________________
                             T. KENT WETHERELL, II
                             UNITED STATES DISTRICT JUDGE




                               2
